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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION

UNITED STATES OF AMERICA ex rel.
PATRICIA MCCULLOUGH,

      Plaintiff,

v.                                            Case No. 1:10cv126-MW/GRJ

ONA COLASANTE, M.D., and
COLASANTE CLINIC, P.A.,

      Defendants.
- - - - - - - --          - -I

          JOINT STIPULATION FOR VOLUNTARY DISMISSAL

      The United States of America, by and through the undersigned Assistant

United States Attorney, and Relator Patricia McCullough, by and through her

attorney Kevin J. Darken, respectfully file this Joint Stipulation for Voluntary

Dismissal in the above-styled case without prejudice to any rights of the United

States pursuant to Rule 41 (a)( 1), Federal Rules of Civil Procedure, and Title 31

United States Code, Sections 3730(b)(l) and (c)(2).

      On or about June 29, 2010, this action for treble damages and civil penalties

was brought by Relator Patricia McCullough. (Doc. 1). On or about December 6,

2011, the United States filed a declaration of its intention to intervene in this case

and filed a Complaint In Intervention on or about July 23, 2013. (Docs. 1, 16 & 42).

Thereafter, this case was stayed pending the resolution of the criminal case United
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States v. Colasante, 1:14cr10/MW. (Docs. 87 -146).

       On or about July 30, 2018, the United States, Relator Patricia McCullough,

and defendant Ona M. Colasante entered into a "Stipulated Settlement Agreement

RE: Forfeiture of Bank Accounts, and Source of Payment of Restitution, Fine and

Outstanding Forfeiture Money Judgment" ("Stipulated Settlement Agreement").

(1:14cr10/MW, Docs. 348 & 348-1). The full terms of the Stipulated Settlement

Agreement are detailed in Docs. 348 and 348-1, and therefore will not be restated

herein. Nonetheless and in summary, the parties' Stipulated Settlement Agreement

provided that Colasante would be "allowed" to sell three New York 1 condominiums

to satisfy her outstanding obligation in the criminal case of approximately

$2,795,134.72. 2 (1:14cr10/MW, Doc. 348-1 -               ,r,r   A & B).     To settle Relator

McCullough's "Third Party Claim" filed in criminal case 1: l 4crl 0/MW, her claims

filed in eight civil forfeiture cases, 3 and to resolve this false claims act case, the

government agreed to pay Relator McCullough $255,000 from the money seized and

ordered forfeited by the Court from the bank account held at M&S Bank ending in

8171 in the name of Colasante Clinic, which had been ordered forfeited by the Court


1 The three New York condominiums are the subject of civil forfeiture cases 1: l 4cv72/MW,
l:14cv73/MW, and 1:14cv94MW.
2 The parties further agreed that in the event the net proceeds from the sale of the three New York
condominiums was in excess of Colasante' s outstanding obligation in the criminal case of
$2,795,134.72, said excess will be given/transferred to Colasante. (l:14cr10/MW, Doc. 348-1 - 1
A).
3 The eight civil forfeiture cases are 1:llcv251/MW, 1:llcv252/MW, 1:llcv253/MW, 1:14cv
70/MW, l:14cv71/MW, 1:14cv72/MW, l:14cv73/MW, and l:14cv94/MW.

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in the criminal case. ( 1: 14crl 0/MW, Docs. 326 & 348-1 - ,r I). Further, pursuant

to the parties' Stipulated Settlement Agreement, upon Relator McCullough's receipt

of said funds, McCullough and an attorney on behalf of the United States shall

promptly sign and file a Joint Stipulation of Dismissal in this civil false claims act

case. (1: 14crl 0/MW, Doc. 348-1 - il N).

      On or about September 10, 2018, the above referenced $255,000 was

transferred to McCullough's counsel's bank account. Further, the government has

been notified that on or about September 17, 2018, Relator's counsel transferred the

Relator's funds to her bank account.            Therefore, the terms of the Stipulated

Settlement Agreement have been completed and are fully satisfied as it concerns this

civil false claims act case. Therefore, at this time, the United States and the Relator

file this motion and respectfully move for an order dismissing the case without

prejudice to the United States.




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     WHEREFORE, the parties file this Joint Stipulation for Voluntary Dismissal

          24th
on this _ _ _ _ day of September, 2018.

                                   Respectfully submitted,

                                   /s/ Leah Ann Butler
                                   LEAH ANN BUTLER
                                   Assistant United States Attorney
                                   Florida Bar No. 0611697
                                   21 East Garden Street, Suite 400
                                   Pensacola, Florida 32502-5675
                                   (850)444-4000
                                   Attorney for the United States


                                    Counsel for Relator Patricia McCullough



                                    KEVIN JOHN DARKEN
                                    Attorney for Relator
                                    332 S. Plant Avenue
                                    Tampa, Florida 33606

                                    Date: _ _
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     CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.l(F)

      I HEREBY CERTIFY that this memorandum complies with the type-volume

and word limitation of Local Rule 7.l(F), 8,000 words, because this document

contains 681 words.


                                            Isl Leah Ann Butler
                                            LEAH ANN BUTLER
                                            Assistant United States Attorney

                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been provided to Jim

Felman, counsel for Ona M. Colasante, and Kevin Darken, counsel for Patricia

                                                  24 th day of September,
McCullough, via the Court's CM/ECF system on this _ _

2018. Further, a copy will be provided to Ona M. Colasante.

                                            Isl Leah Ann Butler
                                            LEAH ANN BUTLER
                                            Assistant United States Attorney




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